Case 2:04-cr-20402-.]PI\/| Document 37 Filed 05/27/05 Page 1 of 3 Page|D 63

IN THE UNITED STATES DISTRICT cOURT FUEDFMA y …<ac.
FOR THE wEsTERN DISTRICT OF TENNESSEE
wEsTERN DIVISION

 

 

UNITED STATES OF AMERICA
Plaj_l’ltiff,

Criminal No. QZ- lo&z Ml

(30-Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXC’LUSION OF TIME

 

As indicated_ by the signatures below, the United, States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the June, 2005,
criminal rotation calendar, but is now RESET for report at §¢QQ
a.m. on Fridav, June 24, 2005, with trial to take place on the
July, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 27th day of May, 2005.

'\`h':s clocL_ment entered on the docket sheet in ccimphance

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so ORDERED this 27th day cf May, 2005.

9 MO wl

JON PHIPPS MCCALLA
d UN ED S'I`ATES DIS'I'RICT JUDGE
/ /

 

Assi§tank United States Attorney

 

 

 

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Couns for Defendant( s)

 

ISTRIC COURT - WESRNTE D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20402 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

Greg Gilluly

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Honorable J on McCalla
US DISTRICT COURT

